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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Southern
 ____________________                 Texas
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Sungard AS New Holdings, LLC
                                              ______________________________________________________________________________________________________



                                               None
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 3 – ___
                                                       4 ___
                                                          6 ___
                                                             1 ___
                                                                5 ___
                                                                   9 ___
                                                                      0 ___
                                                                         7
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  565 E. Swedesford Road
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Suite 320
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Wayne                          PA        19087
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Chester
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.sungardas.com
                                              ____________________________________________________________________________________________________




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Debtor        Sungard AS New Holdings, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          x None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 1 ___
                                                    8 ___
                                                       2

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          x Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor
                Sungard AS New Holdings, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        
                                          x No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             
                                          x Yes.            See Rider 1
                                                    Debtor _____________________________________________               Affiliate
                                                                                                         Relationship _________________________
       affiliate of the debtor?                               Southern District of Texas
                                                    District _____________________________________________ When               04/11/2022
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          
                                          x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have        
                                          x No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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Debtor        Sungard AS New Holdings, LLC
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         x Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                         
                                         x 200-999

                                          $0-$50,000                         $1,000,001-$10 million                    
                                                                                                                         x $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                    
                                                                                                                         x $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          04/11/2022
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Michael K. Robinson
                                             _____________________________________________                 Michael K. Robinson
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chief Executive Officer and President of Sungard AS New Holdings, LLC
                                             Title _________________________________________




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Debtor        Sungard AS New Holdings, LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         Matthew D. Cavenaugh
                                            _____________________________________________            Date       4/11/2022
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Matthew D. Cavenaugh
                                           _________________________________________________________________________________________________
                                           Printed name
                                             Jackson Walker LLP
                                           _________________________________________________________________________________________________
                                           Firm name

                                            1401 McKinney Street, Suite 1900
                                           _________________________________________________________________________________________________
                                           Number     Street

                                            Houston
                                           ____________________________________________________             TX
                                                                                                           ____________   77010
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (713) 752-4200
                                           ____________________________________                             mcavenaugh@jw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            24062656
                                           ______________________________________________________  Texas
                                                                                                  ____________
                                           Bar number                                             State




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                                            RIDER 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       As of the date hereof, each of the entities listed below (the “Debtors”) filed a petition in
the Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of
the United States Code. The Debtors will move for joint administration of these cases under the
case number assigned to the chapter 11 case of Sungard AS New Holdings, LLC.

   1.  InFlow LLC
   2.  Sungard AS New Holdings, LLC
   3.  Sungard AS New Holdings II, LLC
   4.  Sungard AS New Holdings III, LLC
   5.  Sungard Availability Network Solutions Inc.
   6.  Sungard Availability Services (Canada) Ltd. / Sungard, Services de Continuite des Affaires
       (Canada) Ltee
   7. Sungard Availability Services Holdings (Canada), Inc.
   8. Sungard Availability Services Holdings (Europe), Inc.
   9. Sungard Availability Services Holdings, LLC
   10. Sungard Availability Services Technology, LLC
   11. Sungard Availability Services, LP
   12. Sungard Availability Services, Ltd.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                  )
In re:                                            )        Chapter 11
                                                  )
SUNGARD AS NEW HOLDINGS, LLC,                     )        Case No. 22-_____ ([__])
                                                  )
                              Debtor.             )        (Joint Administration Requested)
                                                  )


                        CORPORATE OWNERSHIP STATEMENT

Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                  Shareholder                         Approximate Percentage of Shares Held

                 Angelo Gordon                                       24.548%

         Arbour Lane Capital Management                              10.424%

                Blackstone Credit                                    15.243%

               Carlyle Group Inc.                                    11.647%

             FS/KKR Advisor, LLC                                     11.695%
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                )
In re:                                          )      Chapter 11
                                                )
SUNGARD AS NEW HOLDINGS, LLC,                   )      Case No. 22-_____ ([__])
                                                )
                              Debtor.           )      (Joint Administration Requested)
                                                )


                          LIST OF EQUITY SECURITY HOLDERS

                                                                                  Percentage
          Equity Holder                    Address of Equity Holder                of Equity
                                                                                     Held

   ABRY Advanced Securities       888 Boylston Street, Suite 1600
                                                                                   1.052%
        Fund III, L.P.            Boston, MA 02199-0000

 The Northern Trust Co of Conn Advent Capital Management, LLC
   – Advisors Funds for Empl   888 Seventh Avenue – 31st Floor                     0.065%
        Benefits Trusts        New York, NY 10019

                                  c/o Angelo Gordon & Co. LP
  AG Capital Recovery Partners
                                  245 Park Avenue, 24th Floor                      0.769%
           VIII, LP
                                  New York, NY 10167-0002

                                  c/o Angelo Gordon & Co. LP
         AG Catalooche, LP        245 Park Avenue, 24th Floor                      1.205%
                                  New York, NY 10167-0002

                                  c/o Angelo Gordon & Co. LP
  AG Centre Street Partnership,
                                  245 Park Avenue, 24th Floor                      3.139%
             L.P.
                                  New York, NY 10167-0002

                                  c/o Angelo Gordon & Co. LP
      AG Corporate Credit
                                  245 Park Avenue, 24th Floor                      1.599%
     Opportunities Fund, LP
                                  New York, NY 10167-0002
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                                                                  Percentage
       Equity Holder                   Address of Equity Holder    of Equity
                                                                     Held

                               c/o Angelo Gordon & Co. LP
  AG Global Debt Strategy
                               245 Park Avenue, 24th Floor         1.199%
      Partners, L.P.
                               New York, NY 10167-0002

                               c/o Angelo Gordon & Co. LP
        AG MM, LP              245 Park Avenue, 24th Floor         1.860%
                               New York, NY 10167-0002

                               c/o Angelo Gordon & Co. LP
 AG Super Fund Master, L.P.    245 Park Avenue, 24th Floor         4.184%
                               New York, NY 10167-0002

                               c/o Angelo Gordon & Co. LP
   AG SF Master (L), L.P.      245 Park Avenue, 24th Floor         4.159%
                               New York, NY 10167-0002

                               c/o Angelo Gordon & Co. LP
    James River Insurance
                               245 Park Avenue, 24th Floor         0.183%
          Company
                               New York, NY 10167-0002

                               c/o Angelo Gordon & Co. LP
 JRG Reinsurance Company,
                               245 Park Avenue, 24th Floor         0.320%
           Ltd
                               New York, NY 10167-0002

                               c/o Angelo Gordon & Co. LP
 Kaiser Foundation Hospitals   245 Park Avenue, 24th Floor         1.120%
                               New York, NY 10167-0002

                              c/o Angelo Gordon & Co. LP
Kaiser Permanente Group Trust 245 Park Avenue, 24th Floor          0.789%
                              New York, NY 10167-0002

                              c/o Angelo Gordon & Co. LP
Northwoods Capital X, Limited 245 Park Avenue, 24th Floor          0.548%
                              New York, NY 10167-0002

                               c/o Angelo Gordon & Co. LP
  Northwoods Capital XI-B,
                               245 Park Avenue, 24th Floor         0.655%
         Limited
                               New York, NY 10167-0002

                               c/o Angelo Gordon & Co. LP
 Northwoods Capital XII-B,
                               245 Park Avenue, 24th Floor         0.795%
         Limited
                               New York, NY 10167-0002
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                                                                            Percentage
      Equity Holder                       Address of Equity Holder           of Equity
                                                                               Held

                                c/o Angelo Gordon & Co. LP
Northwoods Capital XIV-B,
                                245 Park Avenue, 24th Floor                  0.661%
        Limited
                                New York, NY 10167-0002

                                c/o Angelo Gordon & Co. LP
 Northwoods Capital XV,
                                245 Park Avenue, 24th Floor                  0.522%
        Limited
                                New York, NY 10167-0002

                                c/o Angelo Gordon & Co. LP
 Northwoods Capital XVI,
                                245 Park Avenue, 24th Floor                  0.401%
        Limited
                                New York, NY 10167-0002

                                c/o Angelo Gordon & Co. LP
Northwoods Capital XVII,
                                245 Park Avenue, 24th Floor                  0.439%
       Limited
                                New York, NY 10167-0002

                                Arbour Lane Capital Management
    Alcof II Nubt, L.P.         251 Little Falls Drive                       10.424%
                                Wilmington, DE 19808

                                190 Elgin Avenue
Elevation CLO 2013-1, Ltd.                                                   0.102%
                                George Town, Grand Cayman, KY KY1-9005

                                190 Elgin Avenue
Elevation CLO 2014-2, Ltd.                                                   0.274%
                                George Town, Grand Cayman, KY KY1-9005

                                190 Elgin Avenue
Elevation CLO 2016-5, Ltd.                                                   0.078%
                                George Town, Grand Cayman, KY KY1-9005

                                190 Elgin Avenue
    Peaks CLO 1, Ltd.                                                        0.206%
                                George Town, Grand Cayman, KY KY1-9005

                                Cayman Corporate Centre, 27 Hospital Road
    Peaks CLO 2, Ltd.                                                        0.098%
                                George Town, Grand Cayman, KY KY1-9008

                                4 Rue Jean Monnet
  Astra Sicav Sif – Trisin                                                   0.010%
                                Luxembourg, Luxembourg 2180

Alcestis Invesement SICAV,      P de la Castellana, 92
                                                                             0.007%
            S.A.                Madrid, Spain 28046

                                P de la Castellana, 92
Sigfrido - S.C.A. Sicav - Sif                                                0.007%
                                Madrid, Spain 28046
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                                                                           Percentage
       Equity Holder                       Address of Equity Holder         of Equity
                                                                              Held

                                  745 7th Ave
       Barclays Capital                                                     0.078%
                                  New York, NY 10019

                                  Queensgate House
Benefit Street Partners CLO II,   P. O. Box 1093
                                                                            0.136%
              Ltd.                113 South Church Street
                                  George Town, Grand Cayman, KY KY1-1102

                                  Queensgate House
 Benefit Street Partners CLO      P.O. Box 1093
                                                                            0.136%
           III, Ltd.              113 South Church Street
                                  George Town, Grand Cayman, KY KY1-1102

                                Boundary Hall, Cricket Square,
Benefit Street Partners CLO IV,
                                161 Elgin Ave., George Town,                0.137%
              Ltd.
                                Grand Cayman, KY KY1-1102

                                  Queensgate House
Benefit Street Partners CLO V-    P.O. Box 1093
                                                                            0.093%
            B, Ltd.               113 South Church Street
                                  George Town, Grand Cayman, KY KY1-1102

                                  Queensgate House
 Benefit Street Partners CLO      P. O. Box 1093
                                                                            0.092%
          VIII, Ltd               113 South Church Street
                                  George Town, Grand Cayman, KY KY1-1102

                                  Cayman Corporate Centre
 Benefit Street Partners CLO
                                  27 Hospital Road                          0.153%
           XI, Ltd.
                                  George Town, Grand Cayman, KY KY1-9008

                                  Cayman Corporate Centre
 Benefit Street Partners CLO
                                  27 Hospital Road                          0.192%
           XII, Ltd
                                  George Town, Grand Cayman, KY KY1-9008

                                  214 North Tryon Street
    Bank of America, N.A.         NC1-027-15-01                             0.891%
                                  Charlotte, NC 28255

                                  222 Broadway, 11th Floor
    BOFA Securities, Inc.                                                   0.370%
                                  New York, NY 10038
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                                                                   Percentage
       Equity Holder                    Address of Equity Holder    of Equity
                                                                      Held

                               113 Woodside Drive
     BOC Ventures LLC                                               0.219%
                               Greenwich, CT 06830

                               520 Madison Ave, 40th Floor
   Carlyle C17 CLO, LTD                                             0.105%
                               New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.564%
 Strategies CLO 2012-3, LTD    New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.576%
 Strategies CLO 2012-4, LTD    New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.564%
 Strategies CLO 2013-1, LTD    New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.201%
 Strategies CLO 2013-2, LTD    New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.443%
 Strategies CLO 2013-3, Ltd.   New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.341%
 Strategies CLO 2013-4, Ltd.   New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.442%
 Strategies CLO 2014-1, LTD    New York, NY 10022

     Carlyle Global Market   520 Madison Ave, 40th Floor
                                                                    0.383%
Strategies CLO 2014-2-R, LTD New York, NY 10022

     Carlyle Global Market   520 Madison Ave, 40th Floor
                                                                    0.714%
Strategies CLO 2014-3-R, LTD New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.565%
Strategies CLO 2014-4-R LTD    New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.574%
 Strategies CLO 2014-5, Ltd.   New York, NY 10022

    Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                    0.582%
 Strategies CLO 2015-1, Ltd.   New York, NY 10022
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                                                                  Percentage
      Equity Holder                    Address of Equity Holder    of Equity
                                                                     Held

    Carlyle Global Market     520 Madison Ave, 40th Floor
                                                                   0.561%
 Strategies CLO 2015-3 Ltd.   New York, NY 10022

    Carlyle Global Market     520 Madison Ave, 40th Floor
                                                                   0.507%
 Strategies CLO 2015-4 Ltd.   New York, NY 10022

   Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                   0.468%
Strategies CLO 2015-5, Ltd.   New York, NY 10022

   Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                   0.503%
Strategies CLO 2016-1, Ltd.   New York, NY 10022

   Carlyle Global Market      520 Madison Ave, 40th Floor
                                                                   0.529%
Strategies CLO 2016-3, Ltd.   New York, NY 10022

                              520 Madison Ave, 40th Floor
Carlyle US CLO 2016-4, LTD                                         0.609%
                              New York, NY 10022

                              520 Madison Ave, 40th Floor
Carlyle US CLO 2017-1 LTD                                          0.570%
                              New York, NY 10022

                              520 Madison Ave, 40th Floor
Carlyle US CLO 2017-2, LTD                                         0.387%
                              New York, NY 10022

                              520 Madison Ave, 40th Floor
Carlyle US CLO 2017-3, LTD                                         0.530%
                              New York, NY 10022

                              520 Madison Ave, 40th Floor
Carlyle US CLO 2017-4, LTD                                         0.377%
                              New York, NY 10022

                              520 Madison Ave, 40th Floor
Carlyle US CLO 2017-5, LTD                                         0.302%
                              New York, NY 10022

                              520 Madison Ave, 40th Floor
Carlyle US CLO 2018-1, Ltd.                                        0.158%
                              New York, NY 10022

                              520 Madison Ave, 40th Floor
Carlyle US CLO 2018-3, LTD                                         0.091%
                              New York, NY 10022

                              8 Sound Shore Drive, Suite 303
   Cetus Capital III, L.P.                                         0.287%
                              Greenwich, CT 06830
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                                                                              Percentage
       Equity Holder                       Address of Equity Holder            of Equity
                                                                                 Held

Littlejohn Opportunities Master 8 Sound Shore Drive, Suite 303
                                                                               0.248%
           Fund, L.P.           Greenwich, CT 06830

                                  8 Sound Shore Drive, Suite 303
         OFM II, L.P.                                                          0.262%
                                  Greenwich, CT 06830

                                  8 Sound Shore Drive, Suite 303
       VSS Fund, L.P.                                                          0.242%
                                  Greenwich, CT 06830-7242

                                  1615 Brett Road
Citigroup Global Markets Inc.                                                  0.067%
                                  New Castle, DE 19720

Credit Suisse Securities (USA)    Eleven Madison Ave., 4th Floor
                                                                               7.242%
             LLC                  New York, NY 10010

                                  60 Wall Street, 2nd Floor
Deutsche Bank AG, New York
                                  MS: NYC60W-0220 Desk J26                     1.019%
          Branch
                                  New York, NY 1005-2858

                                  Queensgate House, 113 South Church Street
Ellington Credit Opportunities,
                                  P.O. Box 1093                                0.411%
             Ltd.
                                  George Town, Grand Cayman, KY KY1-1102

                                  53 Forest Ave.
      EF Securities LLC                                                        0.582%
                                  Old Greenwich, CT 06870

                                  53 Forest Ave.
  EMGH Investments LLC                                                         0.066%
                                  Old Greenwich, CT 06870

 EPO II (B) Special Holdings      53 Forest Ave.
                                                                               0.213%
             Ltd.                 Old Greenwich, CT 06870

                                  53 Forest Ave.
EPO (B) Special Holdings Ltd.                                                  0.153%
                                  Old Greenwich, CT 06870

Ellington Special Opportunities 53 Forest Ave.
                                                                               0.560%
             LLC                Old Greenwich, CT 06870

St. Bernard Opportunity Fund      53 Forest Ave.
                                                                               0.367%
            I, Ltd.               Old Greenwich, CT 06870

                                  75 Fort Street, PO Box 1350
  BNPP IP CLO 2014-II Ltd                                                      0.269%
                                  George Town, Grand Cayman, KY KY1-1108
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                                                                           Percentage
       Equity Holder                     Address of Equity Holder           of Equity
                                                                              Held

                                555 California Street, Floor 50
     Cooper River LLC                                                       0.502%
                                San Francisco, CA 94104

FS Global Credit Opportunities 201 Rouse Boulevard
                                                                            5.952%
            Fund               Philadelphia, PA 19112

                                555 California Street, Floor 50
FS Investment Corporation II                                                0.758%
                                San Francisco, CA 94104

                                555 California Street, Floor 50
FS Investment Corporation III                                               1.796%
                                San Francisco, CA 94104

                                555 California Street, Floor 50
    FS KKR Capital Corp                                                     0.789%
                                San Francisco, CA 94104

                                555 California Street, Floor 50
  FS KKR Capital Corp. II                                                   1.312%
                                San Francisco, CA 94104

                                555 California Street, Floor 50
Jefferson Square Funding LLC                                                0.394%
                                San Francisco, CA 94104

                                555 California Street, Floor 50
      Race Street LLC                                                       0.192%
                                San Francisco, CA 94104

                                P.O. Box 1093
  Bowman Park CLO, Ltd.         113 South Church Street                     0.066%
                                George Town, Grand Cayman, KY KY1-1102

                                190 Elgin Avenue, George Town,
  Catskill Park CLO, LTD.       Grand Cayman, KY KY1-9005                   0.044%
                                Notices.CatskillParkCLOLtd@virtusllc.com

                                190 Elgin Avenue
Cumberland Park CLO Limited                                                 0.132%
                                George Town, Grand Cayman, KY KY1-9005

                                3rd Floor, Europa House
Dorchester Park CLO Limited     Harcourt Centre, Harcourt Street            0.177%
                                Dublin, IE

  GSO Aiguille Des Grands       50 Queen Street North 1010
                                                                            1.610%
    Montets Fund I LP           Kitchener, ON, CA N2H6M2
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                                                                       Percentage
      Equity Holder                    Address of Equity Holder         of Equity
                                                                          Held

 GSO Aiguille Des Grands      50 Queen Street North 1010
                                                                        0.661%
   Montets Fund II LP         Kitchener, ON, CA N2H6M2

 GSO Aiguille Des Grands      50 Queen Street North 1010
                                                                        0.101%
   Montets Fund III LP        Kitchener, ON, CA N2H6M2

                              Ugland House, South Church Street
 GSO Churchill Partners LP                                              2.087%
                              George Town, Grand Cayman, KY KY1-1104

GSO Credit Alpha II Trading   345 Park Ave, Floor 31
                                                                        2.901%
      (Cayman) LP             New York, NY 10154-0004

 GSO Credit Alpha Trading     345 Park Ave, Floor 31
                                                                        2.346%
      (Cayman) LP             New York, NY 10154-0004

                              345 Park Ave, Floor 31
 GSO Credit-A Partners LP                                               1.544%
                              New York, NY 10154-0004

GSO Harrington Credit Alpha   345 Park Ave, Floor 31
                                                                        0.872%
    Fund (Cayman) LP          New York, NY 10154-0004

GSO Palmetto Opportunistic    345 Park Ave, Floor 31
                                                                        2.014%
  Investment Partners LP      New York, NY 10154-3302

                              190 Elgin Avenue
    Jay Park CLO, Ltd.                                                  0.069%
                              George Town, Grand Cayman, KY KY1-9005

                              190 Elgin Avenue
   Seneca Park CLO, Ltd                                                 0.354%
                              George Town, Grand Cayman, KY KY1-9005

                              190 Elgin Avenue
  Stewart Park CLO, Ltd.                                                0.221%
                              George Town, Grand Cayman, KY KY1-9005

                              Queensgate House, South Church Street
   Thayer Park CLO, Ltd.      P.O. Box 1093                             0.044%
                              George Town, Grand Cayman, KY KY1-1104

                              Attn: Lauren Decker - Trust RPS
  Hancock Whitney Bank                                                  0.018%
                              Gulfport, MS 39501

 Harbeck Marital Trust GST    VV282N5948 Winkleman Rd.
                                                                        0.0003%
       UAD 4/15/03            Hartland, WI 53029
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                                                                     Percentage
       Equity Holder                    Address of Equity Holder      of Equity
                                                                        Held

    Invesco Oppenheimer       6803 S. Tucson Way
                                                                      0.005%
Fundamental Alternatives Fund Centennial, CO 80112

Invesco Oppenheimer Master     6803 S. Tucson Way
                                                                      0.075%
         Loan Fund             Centennial, CO 80112

 Invesco Oppenheimer Senior    6803 S. Tucson Way
                                                                      0.812%
      Floating Rate Fund       Centennial, CO 80112`

 Invesco Oppenheimer Senior    6803 S. Tucson Way
                                                                      0.005%
   Floating Rate Plus Fund     Centennial, CO 80112

  J.H. Lane Partners Master    126 East 56th Street, Suite 1620
                                                                      1.011%
          Fund, LP             New York, NY 10022

                               500 Stanton Christiana Rd, DE3-4127
 J.P. Morgan Securities LLC                                           1.496%
                               Newark, DE 60606

                               250 Vesey St, 6th Floor
     Jane Street Capital                                              0.012%
                               New York, NY 10281

  JMP Credit Advisors CLO      8000 Avalon Blvd, Suite 460
                                                                      0.175%
         III(R) Ltd            Alpharetta, GA 30009

JMP Credit Advisors CLO IV     8000 Avalon Blvd, Suite 460
                                                                      0.221%
            Ltd                Alpharetta, GA 30009

    Bulwarkbay Credit
                               20 Winthrop Square, 2nd Floor
 Opportunities Master Fund                                            0.118%
                               Boston, MA 02110
           LTD

Makor Investment & Finance     4 Chemin Du Port Noir
                                                                      0.134%
 Corporation (MIFCOR)          Geneva, Switzerland 1207

 Russell Investment Funds -    1301 2nd Ave, Floor 18
                                                                      0.039%
   Strategic Bond Fund         Seattle, WA 98101-3814

                               1301 2nd Ave, Floor 18
 Russell Strategic Bond Fund                                          0.209%
                               Seattle, WA 98101-3814

   Viacom Defined Benefit      1515 Broadway
                                                                      0.036%
        Master Trust           New York, NY 10036
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                                                                   Percentage
       Equity Holder                    Address of Equity Holder    of Equity
                                                                      Held

                               6220 Sprint Pkwy
     Sprint Master Trust                                            0.086%
                               Overland Park, KS 66251-6118

 Abbott AbbVie Multiple        320 Park Avenue, Suite 1600
                                                                    0.064%
Employer Pension Plan Trust    New York, NY 10022

 Abbott Laboratories Annuity   320 Park Avenue, Suite 1600
                                                                    0.095%
      Retirement Trust         New York, NY 10022

MidOcean Credit Focus Fund I   320 Park Avenue, Suite 1600
                                                                    0.054%
           LP                  New York, NY 10022

MidOcean Credit Opportunity    320 Park Avenue, Suite 1600
                                                                    0.287%
     Master Fund, LP           New York, NY 10022

MJX AM - Venture XIX CLO,      12 E 49th Street, 38th Floor
                                                                    0.100%
         Limited               New York, NY 10017

MJX AM - Venture XXI CLO       12 E 49th Street, 38th Floor
                                                                    0.099%
        Limited                New York, NY 10017

                               12 E 49th Street, 38th Floor
MJX Asset Management LLC                                            0.197%
                               New York, NY 10017

                               12 E 49th Street, 38th Floor
     MJX Partners LLC                                               0.373%
                               New York, NY 10017

                               12 E 49th Street, 38th Floor
 Venture 28A CLO, Limited                                           0.088%
                               New York, NY 10017

                               12 E 49th Street, 38th Floor
 Venture XIV CLO, Limited                                           0.092%
                               New York, NY 10017

                               12 E 49th Street, 38th Floor
 Venture XVII CLO, Limited                                          0.176%
                               New York, NY 10017

                               12 E 49th Street, 38th Floor
Venture XVIII CLO, Limited                                          0.176%
                               New York, NY 10017

                               12 E 49th Street, 38th Floor
  Venture XX CLO Limited                                            0.022%
                               New York, NY 10017
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                                                                    Percentage
       Equity Holder                     Address of Equity Holder    of Equity
                                                                       Held

                                12 E 49th Street, 38th Floor
Venture XXIX CLO, Limited                                            0.088%
                                New York, NY 10017

                                12 E 49th Street, 38th Floor
 Venture XXX CLO, Limited                                            0.088%
                                New York, NY 10017

MKR Advisory Services, LLC      REDACTED                             1.111%

  BBH & Co. f/b/o Nomura
                                309 West 49th Street, 19th Floor
Funds Ireland - US High Yield                                        0.008%
                                New York, NY 10019-7316
         Bond Fund

California Public Employees’    309 West 49th Street, 19th Floor
                                                                     0.010%
     Retirement System          New York, NY 10019-7316

 High Yield Corporate Bond      309 West 49th Street, 19th Floor
                                                                     0.054%
    Open Mother Fund            New York, NY 10019-7316

Kapitalforeningen Industriens
                                309 West 49th Street, 19th Floor
Pension Portfolio, High Yield                                        0.006%
                                New York, NY 10019-7316
       Obligationer III

Kapitalforeningen MP Invest     309 West 49th Street, 19th Floor
                                                                     0.013%
 High Yield Obligationer V      New York, NY 10019-7316

                                309 West 49th Street, 19th Floor
L3Harris Pension Master Trust                                        0.001%
                                New York, NY 10019-7316

 Louisiana State Employees'     309 West 49th Street, 19th Floor
                                                                     0.003%
    Retirement System           New York, NY 10019-7316

    Montgomery County           310 West 49th Street, 19th Floor
                                                                     0.002%
Employees' Retirement System    New York, NY 10019-7316

Nomura Multi Managers Fund      309 West 49th Street, 19th Floor
                                                                     0.001%
  II, US High Yield Bond        New York, NY 10019-7316

Nomura US Attractive Yield
                                309 West 49th Street, 19th Floor
Corporate Bond Fund Mother                                           0.008%
                                New York, NY 10019-7316
           Fund

                                309 West 49th Street, 19th Floor
     Pinnacol Assurance                                              0.003%
                                New York, NY 10019-7316
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                                                                    Percentage
      Equity Holder                   Address of Equity Holder       of Equity
                                                                       Held

 Stichting Pensioenfonds     309 West 49th Street, 19th Floor
                                                                     0.005%
        Hoogovens            New York, NY 10019-7316

  IRA FBO Richard Fels
                             227 Sunset Avenue
Pershing LLC as Custodian                                            0.056%
                             Ridgewood, NJ 07450
          Roth

                             222 South Riverside Plaza, Suite 620
 Evans Grove CLO, Ltd.                                               0.177%
                             Chicago, IL 60606

                             222 South Riverside Plaza, Suite 620
Lockwood Grove CLO, Ltd.                                             0.027%
                             Chicago, IL 60606

                             222 South Riverside Plaza, Suite 620
Monarch Grove CLO, Ltd.                                              0.130%
                             Chicago, IL 60606

                             88 Wood Street, 13th Floor
   Tavira Securities Ltd.                                            0.414%
                             London, United Kingdom EC2V 7DA

   Terrence J. Anderson      REDACTED                                0.328%

                             Calle Serrano 37
 Tortuga 2014, Sicav, S.A.                                           0.007%
                             Madrid, Spain 28001

                             Bahnhofstrasse 45
UBS AG-Stamford Branch                                               1.244%
                             Zurich, Switzerland ch-8098
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      Fill in this information to identify the case:
      Debtor name: Sungard AS New Holdings, LLC
      United States Bankruptcy Court for the: Southern District of Texas
      Case number (If known): ______________                                                                                                                    Check if this is an amended
                                                                                                                                                                 filing

      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
      Unsecured Claims and Are Not Insiders                                       4/10
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
      defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
      claims.
                                                                                                                                                                                   Amount of unsecured claim
                                                                                                                                                            if the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                              Nature of the claim (for
                                                                                                                                       Indicate if claim is claim is partially secured, fill in total claim amount and deduction for
                                                                                                               example, trade debts,                               value of collateral or setoff to calculate unsecured claim.
     Name of creditor and complete mailing address,             Name, telephone number, and email address of                              contingent,
                                                                                                              bank loans, professional
                   including zip code                                         creditor contact                                          unliquidated, or
                                                                                                             services, and government
                                                                                                                                            disputed                                     Deduction for value
                                                                                                                     contracts)                              Total claim, if partially
                                                                                                                                                                                             of collateral or     Unsecured claim
                                                                                                                                                                      secured
                                                                                                                                                                                                  setoff
      ENSONO LP                                               ATTN: NICK LOFASO
 1    3333 FINLEY RD                                          TELEPHONE: 215-280-7350                                       TRADE               UNLIQUIDATED                                                         $3,808,280
      DOWNERS GROVE, IL 60515                                 EMAIL: NICHOLAS.LOFASO@ENSONO.COM
      401 NORTH BROAD LESSEE, LLC                             ATTN: DAVID HAGAN
      C/O AMERIMAR 401 NORTH BROAD MANAGEMENT CO.             TELEPHONE: 215-893-6057
 2                                                                                                                        LANDLORD              UNLIQUIDATED                                                         $2,400,717
      50 SOUTH 16TH STREET                                    EMAIL: DHAGAN@NETRALITY.COM
      PHILADELPHIA, PA 19102
      MICRO FOCUS LLC                                         ATTN: BROOK HOFFMAN (MCLAUGHLIN)
 3    4555 GREAT AMERICA PARKWAY, SUITE 400                   TELEPHONE: 303-209-0079                                       TRADE                                                                                    $1,517,345
      SANTA CLARA, CA 95054                                   EMAIL: BROOK.MCLAUGHLIN@MICROFOCUS.COM
      AVANT COMMUNICATIONS                                    ATTN: SHANE MCNAMARA
                                                                                                                                                CONTINGENT,
 4    2 N. RIVERSIDE PLAZA, SUITE 2450                        EMAIL: SMCNAMARA@GOAVANT.NET                           MARKETING PARTNER                                                                               $1,372,560
                                                                                                                                                UNLIQUIDATED
      CHICAGO, IL 60606
      BRIDGEPOINTE TECHNOLOGIES, INC.                         ATTN: GARY JACOBS
                                                                                                                                                CONTINGENT,
 5    3250 LACEY RD #10                                       EMAIL: GJACOBS@BPT3.NET                                MARKETING PARTNER                                                                               $1,068,030
                                                                                                                                                UNLIQUIDATED
      DOWNERS GROVE, IL 60515
      PSE&G CO                                                ATTN: DENNIS O'CONNOR
 6    325 COUNTY AVE                                          TELEPHONE: 973-445-1518                                  UTILITY PROVIDER         UNLIQUIDATED                                                         $1,038,324
      SECAUCUS, NJ 07094                                      EMAIL: DENNIS.OCONNOR@PSEG.COM
      EMC CORPORATION                                         ATTN: PAT FORTI
 7    176 SOUTH STREET                                        TELEPHONE: 610-809-9096                                       TRADE               UNLIQUIDATED                                                          $840,234
      HOPKINTON, MA 01748                                     EMAIL: PAT.FORTI@DELL.COM
      MICROLAND LIMITED                                       ATTN: DEEPANJAN BISWAS
 8    1B ECOSPACE OUTER RING ROAD                             TELEPHONE: +44(0)77 2525 7948                                 TRADE               UNLIQUIDATED                                                          $799,797
      BELLANDUR, 560103 INDIA                                 EMAIL: DEEPANJAN.BISWAS@MICROLAND.COM
      VERTIV CORPORATION                                      ATTN: HEATHER HILL
 9    1050 DEARBORN DRIVE                                     TELEPHONE: 614-216-9390                                       TRADE                                                                                     $791,784
      COLUMBUS, OH 43085                                      EMAIL: HEATHER.HILL@VERTIV.COM
      VERITAS TECHNOLOGIES LLC                                ATTN: ANGELO SCIASCIA
 10   2625 AUGUSTINE DR,                                      TELEPHONE: 917-655-7303                                       TRADE                                                                                     $684,974
      SANTA CLARA, CA 95054                                   EMAIL: ANGELO.SCIASCIA@VERITAS.COM
      LJS ELECTRICAL CONTRACTOR, INC                          ATTN: LARRY J. SMITH
 11   430 COMMERCE BLVD, UNIT C                               TELEPHONE: 201-729-2146                                       TRADE                                                                                     $675,943
      CARLSTADT, NJ 07072                                     EMAIL: LSMITH@LJSELECTRIC
      PRESIDIO NETWORK SOLUTIONS INC                          ATTN: RYAN FISHER
                                                                                                                                                CONTINGENT,
 12   ONE PENN PLAZA, SUITE 2501                              TELEPHONE: 610-684-2915; 484-919-9692                  MARKETING PARTNER                                                                                $644,270
                                                                                                                                                UNLIQUIDATED
      NEW YORK, NY 10119                                      EMAIL: RYANFISHER@PRESIDIO.COM
      ELEMENT CRITICAL                                        ATTN: SHANE MENKING
 13   7990 QUANTUM DRIVE                                      EMAIL: SMENKING@ELEMENTCRITICAL.COM                           TRADE               UNLIQUIDATED                                                          $605,816
      VIENNA, VA 22182
      1500 NET-WORKS ASSOCIATES, L.P.                         ATTN: SOPHIA KIMMEY
      C/O AMERIMAR ENTERPRISES, INC.                          TELEPHONE: 646-627-7289; 646-553-5641
 14                                                                                                                       LANDLORD              UNLIQUIDATED                                                          $560,092
      210 WEST RITTENHOUSE SQUARE, SUITE 1900                 EMAIL: SKIMMEY@THENGGROUP.COM
      PHILADELPHIA, PA 19103
      SYKES ENTERPRISES INC                                   ATTN: ALEXANDER BALTODANO
 15   700 PARKWAY GLOBAL PARK, MAIN BUILDING                  TELEPHONE: +506 2298-2347                                     TRADE                                                                                     $558,187
      LA AURORA HEREDIA, 517-4005 COSTA RICA                  EMAIL: ALEXANDER.BALTODANO@SYKES.COM
      RUSSO FAMILY LIMITED PARTNERSHIP                        ATTN: ADAM PASTERNACK
      C/O RUSSO DEVELOPMENT, LLC                              TELEPHONE: 201-487-5657 X229
 16                                                                                                                       LANDLORD                                                                                    $509,847
      570 COMMERCE BLVD                                       EMAIL: APASTERNACK@RUSSODEVELOPMENT.COM
      CARLSTADT, NJ 07072
      REDWOOD DC ASSETS LLC                                   ATTN: DANIELLE MCKINNEY
 17   180 PEACHTREE STREET, SUITE 610                         TELEPHONE: 404-525-8190                                     LANDLORD                                                                                    $460,965
      ATLANTA, GA 30303                                       EMAIL: DANIELLEMCKINNEY@MAPLETREE.COM.SG
      LANDMARK INFRASTRUCTURE PARTNERS LP LLC                 ATTN: JOSEF BOBEK
      400 N. CONTINENTAL BLVD, SUITE 500                      TELEPHONE: 310-464-3172
      EL SEGUNDO, CA 90245                                    EMAIL: JBOBEK@LANDMARKDIVIDEND.COM
 18                                                           - AND -                                                     LANDLORD                                                                                    $403,471
                                                              ATTN: VALERIE SILVA
                                                              TELEPHONE: 801-200-2587
                                                              EMAIL: VSILVA@LANDMARKDIVIDEND.COM
    HATZEL & BUEHLER, INC.                                    ATTN: ROBIN VILLAVICENCIO
 19 PO BOX 7499                                               EMAIL: R.VILLAVICENCIO@HATZELANDBUEHLER.COM                   TRADE                                                                                     $382,795
    WILMINGTON, DE 19803
    410 COMMERCE LLC                                          ATTN: ADAM PASTERNACK
 20 570 COMMERCE BLVD                                         TELEPHONE: 201-487-5657 X229                                LANDLORD                                                                                    $353,748
    CARLSTADT, NJ 07072                                       EMAIL: APASTERNACK@RUSSODEVELOPMENT.COM




Official Form 204                                                                                                                                                                                                                 Page 1
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Debtor __Sungard AS New Holdings, LLC_________________________                                                                                                                         Case number (if known)_____________________________________




                                                                                                                                                                                      Amount of unsecured claim
                                                                                                                                                               if the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                                 Nature of the claim (for
                                                                                                                                          Indicate if claim is claim is partially secured, fill in total claim amount and deduction for
                                                                                                                  example, trade debts,                               value of collateral or setoff to calculate unsecured claim.
   Name of creditor and complete mailing address,                  Name, telephone number, and email address of                              contingent,
                                                                                                                 bank loans, professional
                 including zip code                                              creditor contact                                          unliquidated, or
                                                                                                                services, and government
                                                                                                                                               disputed                                     Deduction for value
                                                                                                                        contracts)                              Total claim, if partially
                                                                                                                                                                                                of collateral or     Unsecured claim
                                                                                                                                                                         secured
                                                                                                                                                                                                     setoff
    AMAZON WEB SERVICES                                           ATTN: GEORGE SOPHY
 21 410 TERRY AVENUE NORTH                                        EMAIL: SOPHYG@AMAZON.COM                                                  TRADE                   UNLIQUIDATED                                                 $346,630
    SEATTLE, WA 98109
    NSC GLOBAL, LLC                                               ATTN: NEIL NEWING
 22 WEST BUILDING 1, LONDON BRIDGE, 3RD FLOOR                     TELEPHONE: +44(0)77 7615 0594                                             TRADE                                                                                $325,109
    LONDON, SE19BG UK                                             EMAIL: NEIL.NEWING@NSCGLOBAL.COM
    760 WASHINGTON AVENUE LLC                                     ATTN: ADAM PASTERNACK
    C/O RUSSO DEVELOPMENT LLC                                     TELEPHONE: 201-487-5657 X229
 23                                                                                                                                       LANDLORD                                                                               $322,256
    570 COMMERCE BLVD                                             EMAIL: APASTERNACK@RUSSODEVELOPMENT.COM
    CARLSTADT, NJ 07072
    EMCOR SERVICES (FLUIDICS)                                     ATTN: MIKE IACOBUCCI
 24 9815 ROOSEVELT BLVD #A                                        EMAIL: MIACOBUCCI@FLUIDICS.COM                                            TRADE                                                                                $291,009
    PHILADELPHIA, PA 19114
    DI PROPCO LLC                                                ATTN: JOSEF BOBEK
    C/O LANDMARK DIVIDEND LLC                                    TELEPHONE: 310-464-3172
    400 N. CONTINENTAL BLVD, SUITE 500                           EMAIL: JBOBEK@LANDMARKDIVIDEND.COM
 25 EL SEGUNDO, CA 90245                                         - AND -                                                                      LANDLORD                                                                           $288,469
                                                                 ATTN: VALERIE SILVA
                                                                 TELEPHONE: 801-200-2587
                                                                 EMAIL: VSILVA@LANDMARKDIVIDEND.COM
     DATACENTERS.COM                                             ATTN: JOEL ST GERMAIN
                                                                                                                                                                        CONTINGENT,
 26 10333 E DRY CREEK RD, SUITE 430                              TELEPHONE: 303-880-1390                                                MARKETING PARTNER                                                                        $282,754
                                                                                                                                                                        UNLIQUIDATED
     ENGLEWOOD, CO 80112                                         EMAIL: JOEL@DATACENTERS.COM
     SOFTWARE ONE, INC.                                          ATTN: JASON SHAPOT
 27 20875 CROSSROADS CIRCLE, SUITE #1                            TELEPHONE: 610-873-2328                                                        TRADE                                                                            $272,146
     WAUKESHA, WI 53186                                          EMAIL: JASON.SHAPOT@SOFTWAREONE.COM
     NET2VAULT, LLC                                              ATTN: LIZ MAGUIRE
 28 4900 SW GRIFFITH DRIVE, SUITE 275                            TELEPHONE: 503-445-8282                                                        TRADE                   UNLIQUIDATED                                             $258,487
     BEAVERTON, OR 97005                                         EMAIL: LIZ@NET2VAULT.COM
     M.F. MALONE, INC.                                           ATTN: COLIN MALONE
 29 1043 GEN LAFAYETTE BLVD                                      TELEPHONE: 610-793-2733                                                        TRADE                                                                            $229,262
     WEST CHESTER, PA 19382                                      EMAIL: COLIN.MALONE@MFMALONE.COM
     MICROSOFT CORPORATION                                       ATTN: CHRIS DANIELS
 30 ONE MICROSOFT WAY                                            TELEPHONE: 610-240-7119                                                        TRADE                                                                            $222,240
     REDMOND, WA 98052                                           EMAIL: CDANIELS@MICROSOFT.COM
Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities become invoiced.




Official Form 204                                                                                                                                                                                                                           Page 2
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 Fill in this information to identify the case and this filing:


             Sungard AS New Holdings, LLC
 Debtor Name __________________________________________________________________
                                          Southern
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


        
        x     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)
         
         x                                               List of Equity Security Holders, Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                           04/11/2022
        Executed on ______________                                /s/ Michael K. Robinson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Michael K. Robinson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Executive Officer and President of Sungard AS New Holdings, LLC
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                Execution Version


              OMNIBUS ACTION BY WRITTEN CONSENT OF
                    THE GOVERNING BODIES OF
                  SUNGARD AS NEW HOLDINGS, LLC
                 SUNGARD AS NEW HOLDINGS II, LLC,
                 SUNGARD AS NEW HOLDINGS III, LLC,
           SUNGARD AVAILABILITY SERVICES HOLDINGS, LLC,
         SUNGARD AVAILABILITY SERVICES TECHNOLOGY, LLC,
                          INFLOW LLC,
          SUNGARD AVAILABILITY NETWORK SOLUTIONS, INC.,
      SUNGARD AVAILABILITY SERVICES HOLDINGS (CANADA), INC.,
      SUNGARD AVAILABILITY SERVICES HOLDINGS (EUROPE), INC.,
               SUNGARD AVAILABILITY SERVICES, LTD.,
 SUNGARD AVAILABILITY SERVICES (CANADA) LTD./SUNGARD, SERVICES DE
              CONTINUITÉ DES AFFAIRES (CANADA) LTEE
                               AND
                SUNGARD AVAILABILITY SERVICES, LP


                                          April 10, 2022

        The undersigned, being (a) all of the members of the board of directors and of the boards
of managers, as applicable, (collectively, the “Boards”) of: (1) Sungard AS New Holdings, LLC,
a Delaware limited liability company (“Holdings”); (2) Sungard Availability Services Holdings,
LLC, a Delaware limited liability company; (3) Sungard Availability Services Technology, LLC,
a Delaware limited liability company; (4) InFlow LLC, a Delaware limited liability company; (5)
Sungard Availability Network Solutions, Inc., a Delaware corporation; (6) Sungard Availability
Services Holdings (Canada), Inc., a Delaware corporation; (7) Sungard Availability Services
Holdings (Europe), Inc., a Delaware corporation; (8) Sungard Availability Services, Ltd.; and (9)
Sungard Availability Services (Canada) Ltd./Sungard, Services de Continuité des Affaires
(Canada) Ltee (“Sungard Canada” and items (5) through (9) together, the “Subsidiary
Corporations” and, each individually, a “Subsidiary Corporation”) and (b) each of the members
(each, a “Member”) or the general partner, as applicable (a “General Partner” and, together with
the Boards and the Members, the “Governing Bodies” and, each individually a “Governing Body”)
of: (10) Sungard AS New Holdings II, LLC, a Delaware limited liability company; (11) Sungard
AS New Holdings III, LLC, a Delaware limited liability company (items (2), (3), (4), (10) and (11)
together, the “Subsidiary LLCs” and each individually, a “Subsidiary LLC”); and (12) Sungard
Availability Services, LP, a Pennsylvania limited partnership (the “Subsidiary Partnership” and,
together with the Subsidiary LLCs and Subsidiary Corporations, the “Subsidiaries” and, each
individually, a “Subsidiary” and, together with Holdings, the “Companies” and, each individually,
a “Company”), the Subsidiary LLCs, the Subsidiary Corporations and the Subsidiary Partnership,
do hereby consent and agree in writing pursuant to the Delaware General Corporation Law, the
Delaware Limited Liability Company Act, the Pennsylvania Revised Uniform Limited Partnership
Act and the Business Corporations Act (Ontario), as applicable, to the adoption of the following
resolutions in lieu of a meeting of the applicable Governing Bodies, the call and notice of which
are hereby expressly waived, and authorize the taking of all actions contemplated hereby.
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        WHEREAS, each Governing Body has reviewed and considered the materials presented
by management and the financial and legal advisors to the Companies, including, but not limited
to, Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”), legal counsel to the Companies, Cassels
Brock & Blackwell LLP, Canadian legal counsel to the Companies (“Cassels”), DH Capital, LLC
(“DH”) and Houlihan Lokey, Inc. (“Houlihan”), investment bankers to the Companies and FTI
Consulting, Inc. (“FTI”), financial and restructuring advisor to the Companies, on the date hereof
regarding, among other things, the liabilities, assets and liquidity of each Company and the other
direct and indirect subsidiaries of Holdings, the strategic alternatives available to each Company
and the potential impact (financial and otherwise) of the foregoing on each Company’s respective
businesses;

         WHEREAS, in connection with each Governing Body’s consideration of such liabilities,
assets, liquidity, strategic alternatives and the impact thereof, each Governing Body has reviewed
and evaluated the potential financing and/or restructuring alternatives available to each Company,
including, but not limited to: (i) an equity or debt (including debtor in possession) financing; (ii) a
reorganization; (iii) a merger, recapitalization, refinancing, amendment or exchange of the
Companies’ existing indebtedness or any of the Companies’ capital stock, in each case, whether
in-court or out-of-court and/or whether pursuant to a pre-negotiated or pre-planned restructuring
plan or proposal or otherwise; (iv) a sale of some or all of the assets of the Companies; (v) the
seeking of relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”) and the filing of voluntary petitions pursuant thereto; (vi) the seeking of relief
pursuant to the Companies’ Creditors Arrangement Act (Canada) R.S.C. 1985, c. C-36 as amended
(the “CCAA”) or the Bankruptcy and Insolvency Act (Canada) 1985, c. B-3; (vii) any combination
of the foregoing; and (viii) any other strategic alternatives available to each Company (collectively,
the “Restructuring Alternatives”);

        WHEREAS, each Governing Body has had the opportunity to consult with management
and the financial and legal advisors to the Companies and to fully consider each of the strategic
alternatives available to such Company, including, but not limited to, the Restructuring
Alternatives;

        WHEREAS, in contemplation of the foregoing, the Companies and the Companies’
advisors have engaged with certain respective creditors of the Companies and other parties in
interest in negotiating certain restructuring transactions (the “Restructuring Transactions”) on the
terms and subject to the conditions set forth in the Restructuring Support Agreement and the term
sheet attached thereto substantially in the form attached hereto as Exhibit A (the “Restructuring
Support Agreement”) by and among (i) each of the Companies and (ii) non-affiliated holders of,
or investment advisors, sub-advisors, or managers of discretionary accounts that hold, First Lien
Credit Agreement Claims, Second Lien Credit Agreement Claims, Non-Extending Second Lien
Credit Agreement Claims and, as applicable, Interests in the Companies (the “Consenting
Stakeholders”);

       WHEREAS, capitalized terms used but not otherwise defined in these resolutions shall
have the meanings ascribed to them in the Restructuring Support Agreement;

       WHEREAS, the Companies and the Consenting Stakeholders would agree pursuant to the



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Restructuring Support Agreement, among other things, to effectuate the Restructuring Transactions
by the Companies commencing voluntary cases under chapter 11 of the Bankruptcy Code in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) and
seeking recognition in Canada of the applicable chapter 11 cases and relief obtained therein by
commencing a proceeding under the CCAA in the Ontario Superior Court of Justice (Commercial
List) (the “Canadian Court”);

        WHEREAS, each Governing Body, upon the advice of the Companies’ advisors and upon
the recommendation of the Strategic Planning Committee and after careful consideration of all of
the facts and circumstances relating to each of the strategic alternatives available to the Companies,
including, but not limited to, the Restructuring Alternatives, has determined that it is advisable and
in the best interests of the Companies, their respective creditors, employees, equityholders and
other parties in interest to enter into the Restructuring Support Agreement substantially in the form
attached hereto as Exhibit A and to seek to consummate the transactions contemplated thereby,
subject to the terms thereof;

       WHEREAS, each Governing Body has determined, in the judgment of such Governing
Body, that it is advisable and in the best interests of the Companies, their respective creditors and
other parties in interest for each Company to file or cause to be filed a voluntary petition for relief
under the provisions of the Bankruptcy Code in the Bankruptcy Court and to file the applicable
application materials for a recognition proceeding with the Canadian Court;

        WHEREAS, in connection with the implementation of the Restructuring Transactions and
pursuant to the terms of the Restructuring Support Agreement, it is proposed that the Companies
obtain secured debtor in possession financing on terms consistent with the DIP term sheet attached
hereto as Exhibit B (the “Term Loan DIP Term Sheet” and the facility contemplated thereby, the
“Term Loan DIP Facility”), which DIP Term Sheet shall be agreed to by Sungard AS New
Holdings III, LLC, as borrower (“Borrower”), the other Companies, as guarantors (collectively
such other Companies, the “Guarantors”), the administrative agent and the collateral agent
thereunder (together, the “Term Loan DIP Agent”) and the lenders providing financing thereunder
(the “Term Loan DIP Lenders”);

        WHEREAS, in connection with the implementation of the Restructuring Transactions and
pursuant to the terms of the Restructuring Support Agreement, it is proposed that the Companies
obtain secured debtor in possession financing on terms consistent with the DIP term sheet attached
hereto as Exhibit C (the “ABL DIP Term Sheet” (and, together with the Term Loan DIP Term
Sheet, the “DIP Term Sheets”) and the facility contemplated thereby, the “ABL DIP Facility” and,
together with the Term Loan DIP Facility, the “DIP Facilities”), which ABL DIP Term Sheet shall
be agreed to by the Borrower, the Guarantors, PNC Bank, National Association, as administrative
agent under the ABL DIP Facility (the “ABL DIP Agent” and, together with the Term Loan DIP
Agent, the “DIP Agents”) and the lenders thereunder (the “ABL DIP Lenders” and, together with
the Term Loan DIP Lenders, the “DIP Lenders”);

        WHEREAS, in connection with the DIP Facilities, it is proposed that the Guarantors will
guarantee the obligations of Borrower in accordance with the DIP Term Sheets and each Company
will grant to the DIP Agents and the DIP Lenders liens on, and continuing security interests in,



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substantially all of such Company’s property, whether now or hereafter acquired, to secure the
Companies’ obligations under the DIP Facilities in accordance with the DIP Term Sheets and any
other agreements that may be entered into in connection therewith, including a credit agreement,
documents, instruments, financing statements, filings and/or certificates related thereto or that may
be necessary or desirable to effect the transactions contemplated thereby (together with all
amendments, amendments and restatements, supplements, waivers, renewals, extensions,
modifications, substitutions and replacements thereto and thereof, the “DIP Facility Documents”);

       WHEREAS, the directors of Sungard Availability Services (UK) Limited, an indirect
subsidiary of Holdings (the “UK Company”), determined, at a duly call and held meeting of its
board of directors on March 25, 2022, that it was in the best interests of the UK Company to place
the UK Company into administration as soon as practicable, and the UK Company subsequently
entered into administration (“Administration”) on March 25, 2022;

        WHEREAS, the Board of Holdings determined, at a duly called and held meeting of the
Board of Holdings on March 17, 2022, that it was advisable and in the best interests of the
Companies and their direct and indirect subsidiaries and affiliates to fund the Administration, and
thereafter Holdings entered into that certain funding agreement by and among the UK Company,
Benjamin Dymant and Ian Colin Wormleighton and Holdings for a loan of up to $7 million (£5.3
million) for the purpose of funding the Administration; and

       WHEREAS, each Governing Body has determined, in the judgment of such Governing
Body, that it is advisable and in the best interests of the Companies to provide additional funding
to the UK Company in connection with the Administration in an amount consistent with the
Approved Budget (as defined in the Term Loan DIP Term Sheet).

                       RESTRUCTURING SUPPORT AGREEMENT

        NOW, THEREFORE, BE IT RESOLVED, that it is appropriate and in the best interests
of the Companies and their respective creditors, employees, equityholders and other parties in
interest to enter into and execute the Restructuring Support Agreement substantially in the form
attached hereto as Exhibit A and to seek to consummate the transactions contemplated thereby,
subject to the terms thereof;

       RESOLVED FURTHER, that the form, terms and provisions of the Restructuring
Support Agreement and the Companies’ execution and delivery of the Restructuring Support
Agreement substantially in the form attached hereto as Exhibit A and the Companies’ performance
thereunder, hereby are, in all respects, authorized, approved, adopted and ratified;

       RESOLVED FURTHER, that the Chief Executive Officer, President, Chief Financial
Officer, Treasurer, Secretary and any other duly elected or appointed officer of each Company, as
applicable (the “Authorized Persons”) are, and each of them hereby is, authorized, empowered
and directed on behalf of, and in the name of, the Companies to execute and deliver to the
appropriate parties and to perform each Company’s obligations under the Restructuring Support
Agreement, including, but not limited to, the execution, delivery and performance of any
agreements, documents, instruments or certificates constituting exhibits, annexes or schedules to,



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or required to be executed pursuant to, the Restructuring Support Agreement, in each case, with
such changes therein or additions thereto as the Authorized Person executing the same shall
approve and the execution thereof by any such Authorized Person to be conclusive evidence of
such approval of such changes or additions;

                                     CHAPTER 11 FILING

        RESOLVED FURTHER, that in the business judgment of each Governing Body and
based on the recommendation from management and the financial and legal advisors of the
Companies, it is desirable and in the best interests of each Company, its creditors and other parties
in interest that such Company shall be, and hereby is, authorized to file or cause to be filed a
voluntary petition for relief (each, a “Chapter 11 Case” and, collectively, the “Chapter 11 Cases”)
under the provisions of chapter 11 of the Bankruptcy Code in the Bankruptcy Court;

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed to execute and file on behalf of each Company all petitions,
schedules, motions, objections, replies, applications, pleadings, lists, documents and other papers,
and to take any and all action that such Authorized Persons deem necessary, appropriate or
desirable to obtain such relief, including, without limitation, any action necessary, appropriate or
desirable to maintain the ordinary course operation of such Company’s businesses or to assist such
Company in the Chapter 11 Cases and in carrying out its duties under the provisions of the
Bankruptcy Code;

                           CCAA RECOGNITION APPLICATION

        RESOLVED FURTHER, that in the business judgment of each Governing Body and
based on the recommendation from management and the financial and legal advisors of the
Companies, it is desirable and in the best interests of each Company, its creditors and other parties
in interest that Sungard Canada (and such other Company as may be necessary) shall be, and
hereby is, authorized to file or cause to be filed an application for recognition in Canada under the
CCAA of its Chapter 11 Case and to seek such other insolvency or bankruptcy relief in Canada in
respect of itself or any other Company (the “Canadian Proceedings”);

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed to execute and file on behalf of Sungard Canada (or such
Company, as applicable) all petitions, schedules, motions, objections, replies, applications,
pleadings, lists, documents and other papers, and to take any and all action that such Authorized
Persons deem necessary, appropriate or desirable to obtain such relief, including, without
limitation, any action necessary, appropriate or desirable to maintain the ordinary course operation
of such Company’s businesses or to assist such Company in the Canadian Proceedings and in
carrying out its duties under the provisions of the CCAA;

        DIP TERM SHEETS AND DIP FACILITIES; ADEQUATE PROTECTION

      RESOLVED FURTHER, that the terms governing the DIP Facilities as set forth in the
DIP Term Sheets are in the best interests of each Company and each Company’s creditors,



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employees, equityholders and other interested parties and it is in the best interests of each Company
and each Company’s creditors, employees, equityholders and other interested parties that (i)
Borrower make the borrowings contemplated by the DIP Facilities, (ii) each Guarantor guarantee
the obligations of Borrower thereunder and the obligations specified therein, (iii) each Company
grant to the DIP Agents and the DIP Lenders a lien on and a continuing security interest in
substantially all of such Company’s property as contemplated by the DIP Term Sheets and (iv)
each Company consummate the transactions contemplated by the DIP Facilities, including but not
limited to, the execution, delivery and performance of the obligations under the DIP Facility
Documents;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to obtain the
DIP Facilities on the terms set forth in the DIP Term Sheets and each other DIP Facility Document,
including, but not limited to, the execution, delivery and performance of any agreements,
documents, instruments or certificates constituting exhibits, annexes or schedules to, or required
to be executed pursuant to, the DIP Facility Documents, in each case, with such changes therein
or additions thereto as the Authorized Person executing the same shall approve and the execution
thereof by any such Authorized Person to be conclusive evidence of such approval of such changes
or additions;

       RESOLVED FURTHER, that Holdings is authorized to provide additional funding to the
UK Company in connection with the Administration using proceeds in an amount consistent with
the Approved Budget;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to take all
such further actions, including, without limitation, to enter into any such funding agreement, to
pay or approve the payment of funds to the UK Company and appropriate fees and expenses
incurred by or on behalf of such Company in connection with the foregoing resolution, which shall
in his or her sole judgment be necessary, proper or advisable to perform any of such Company’s
obligations to carry out fully the intent of the foregoing resolution;

        RESOLVED FURTHER, that the Companies shall provide certain adequate protection
to the Companies’ prepetition secured lenders, including adequate protection replacement liens,
adequate protection superpriority claims and the receipt of payment of fees and expenses as
adequate protection (the “Adequate Protection Obligations”);

       RESOLVED FURTHER, that the Companies as debtors and debtors in possession under
the Bankruptcy Code be, and hereby are, authorized to negotiate and incur the Adequate Protection
Obligations, grant liens, make periodic payments and to undertake any and all related transactions
on substantially the same terms as contemplated under the DIP Facility Documents (collectively,
the “Adequate Protection Transactions”);

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies, as debtors
and debtors in possession, to take such actions as in his or her reasonable discretion is determined



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to be necessary, desirable or appropriate and execute the Adequate Protection Transactions,
including delivery of (i) the DIP Facility Documents and such agreements, certificates,
instruments, guaranties, notices and any and all other documents, including, without limitation,
any amendments to any DIP Facility Documents (collectively, the “Adequate Protection
Documents”), (ii) such other instruments, certificates, notices, assignments and documents as may
be reasonably requested by the Agent and (iii) such forms of deposit, account control agreements,
officer’s certificates and compliance certificates as may be required by the DIP Facility Documents
or any other Adequate Protection Document;

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to fix the
terms of and to enter into, execute, file or deliver security, mortgage, pledge or other collateral
agreements, documents, instruments, arrangements or statements, including, but not limited to,
such financing statements or comparable documents required under the Uniform Commercial
Code, the applicable personal property lien legislation in the relevant Canadian jurisdictions or
comparable law as adopted in the relevant jurisdictions, and to make any and all expenditures, to
incur any and all expenses, and to pay any and all required fees or taxes, as may be necessary,
appropriate or advisable to create or perfect security interests in favor of the secured parties under
the DIP Facilities, substantially on the terms described in the DIP Facility Documents;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to take all
such further actions, including, without limitation, to pay or approve the payment of adequate
protection, appropriate fees and expenses payable in connection with the Adequate Protection
Transactions and appropriate fees and expenses incurred by or on behalf of such Company in
connection with the foregoing resolutions, in accordance with the terms of the Adequate Protection
Documents, which shall in his or her sole judgment be necessary, proper or advisable to perform
any of such Company’s obligations under or in connection with any of the Adequate Protection
Documents and the transactions contemplated therein and to carry out fully the intent of the
foregoing resolutions;

                             RETENTION OF PROFESSIONALS

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ Akin Gump to represent and assist each Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance such
Company’s rights and obligations, including filing any petitions, schedules, motions, objections,
replies, applications, pleadings, lists, documents and other papers and conducting any sales process
on behalf of each Company and in connection therewith, each of the Authorized Persons, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers and to cause to be filed an appropriate application for authority to retain
Akin Gump in accordance with applicable law;

       RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ the law firm of Jackson Walker LLP (“Jackson Walker”) as co-
bankruptcy counsel to represent and assist each Company in carrying out its duties under the



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Bankruptcy Code, and to take any and all actions to advance such Company’s rights and
obligations, including filing any petitions, schedules, motions, objections, replies, applications,
pleadings, lists, documents and other papers and conducting any sales process on behalf of each
Company and in connection therewith, each of the Authorized Persons, with power of delegation,
is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers and to cause to be filed an appropriate application for authority to retain Jackson Walker
in accordance with applicable law;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ Cassels as Canadian bankruptcy counsel to provide Canadian
legal advice to the Companies, to represent and assist each Company in carrying out its duties
under the CCAA and the Canadian Proceedings, and to take any and all actions to advance such
Company’s rights and obligations, including filing any petitions, schedules, motions, objections,
replies, applications, pleadings, lists, documents and other papers and conducting any sales process
on behalf of each Company and in connection therewith, each of the Authorized Persons, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers and, if required, to cause to be filed an appropriate application for
authority to retain Cassels in accordance with applicable law;

       RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to pay the fees and expenses of the proposed Canadian Court appointed
Information Officer in the Canadian Proceedings, Alvarez & Marsal Canada Inc., and its counsel,
Bennett Jones LLP, in connection with the Canadian Proceedings and, as applicable, on such terms
and conditions as the Canadian Court shall subsequently approve;

       RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ DH as special investment banker to represent and assist each
Company in carrying out its duties under the Bankruptcy Code and to take any and all actions to
advance such Company’s rights and obligations and in connection therewith, each of the
Authorized Persons, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers and to cause to be filed an appropriate
application for authority to retain DH in accordance with applicable law;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ Houlihan as restructuring investment banker to represent and
assist each Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance such Company’s rights and obligations and in connection therewith, each of the
Authorized Persons, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers and to cause to be filed an appropriate
application for authority to retain Houlihan in accordance with applicable law;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ FTI as financial advisor to represent and assist each Company
in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
such Company’s rights and obligations and in connection therewith, each of the Authorized
Persons, with power of delegation, is hereby authorized and directed to execute appropriate



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retention agreements, pay appropriate retainers and to cause to be filed an appropriate application
for authority to retain FTI in accordance with applicable law;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ Kroll Restructuring Administration LLC (“Kroll”) as notice and
claims agent to provide consulting services to each Company, including, but not limited to,
noticing, claims management and reconciliation, plan solicitation, balloting, disbursements and
assisting with the preparation of each Company’s schedules of assets and liabilities and a statement
of financial affairs and any other services agreed upon by the parties relating to each Company’s
duties under the Bankruptcy Code and in connection therewith, each of the Authorized Persons,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and to cause to be filed an appropriate application for
authority to retain Kroll in accordance with applicable law;

         RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ any other professionals to assist each Company in carrying out
its duties under the Bankruptcy Code and in connection therewith, each of the Authorized Persons,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and to cause to be filed an appropriate application for
authority to retain the services of any other professionals as necessary;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is, with
power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, objections, replies, applications, pleadings, lists and other papers and, in
connection therewith, to employ and retain all assistance by legal counsel, accountants, investment
bankers, financial advisors, restructuring advisors and other professionals and to take and perform
any and all further acts and deeds that each of the Authorized Persons deems necessary,
appropriate, or desirable in connection with each Company’s Chapter 11 Case or the Canadian
Proceedings, with a view to the successful prosecution of the applicable proceeding, and cause to
be executed and filed appropriate applications with the Bankruptcy Court or the Canadian Court
for authority to retain the services of any other professionals, as necessary;

                                   GENERAL AUTHORITY

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized and directed to take such further steps and execute and deliver such further documents,
instruments, agreements, consents and filings as such officers, with the advice of counsel, may
deem necessary or desirable to carry out any transactions contemplated by the above resolutions;

        RESOLVED FURTHER, that the authority conferred upon any Authorized Person by
these resolutions are in addition to, and shall in no way limit, such other authority as such
Authorized Person may have with respect to the subject matter of the foregoing resolutions, and in
addition to the specific authorizations heretofore conferred upon the Authorized Persons, each of
the Authorized Persons (and their designees and delegates) be, and hereby is, authorized and
empowered, in the name of and on behalf of each Company, to take or cause to be taken any and
all such other and further action, and to execute, acknowledge, deliver, file and/or record any and



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all such agreements, certificates, instruments and other documents and to pay all expenses,
including but not limited to any and all required fees or taxes, in each case as in such Authorized
Person’s judgment, shall be necessary, appropriate or desirable in order to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein;

        RESOLVED FURTHER, that any and all acts, transactions, agreements or certificates
previously signed on behalf of each Company by any Authorized Officer in connection with or
furtherance of the foregoing resolutions that are consistent with the foregoing resolutions be, and
hereby are, in all respects approved, adopted, confirmed and ratified in all respects as the true acts
and deeds of such Company, with the same force and effect as if each such act, transaction,
agreement or certificate had been specifically authorized in advance by resolution of the Governing
Body of such Company and such officer(s) did execute the same;

        RESOLVED FURTHER, that the omission from these resolutions of any agreement or
other arrangement contemplated by any of the agreements described in the foregoing resolutions
or any action to be taken in accordance with any requirement of any of the agreements described
in the foregoing resolutions shall in no manner derogate from the authority of any Authorized
Person to take all actions necessary, desirable, advisable or appropriate to consummate, effectuate,
carry out or further the matters contemplated by and the intent and purposes of the foregoing
resolutions;

        RESOLVED FURTHER, that if any resolution contained herein shall be adjudicated by
a court of competent jurisdiction to be invalid, prohibited or unenforceable for any reason, then, to
the greatest extent permitted by applicable law, such resolution, solely with respect to such
jurisdiction, shall be ineffective, without affecting the validity or enforceability of any other
resolution in such jurisdiction and without affecting the validity or enforceability of any resolution
in any other jurisdiction;

        RESOLVED FURTHER, that the Authorized Persons of each Company are, and each of
them hereby is, authorized, empowered and directed to certify and furnish such copies of these
resolutions and such statements as to the incumbency of such Company’s officers, under seal if
necessary, as may be requested, and any person receiving such certified copy is and shall be
authorized to rely upon the contents thereof;

       RESOLVED FURTHER, that this written consent may be executed in multiple
counterparts, all of which shall be considered one and the same consent and shall become effective
when signed by a majority of the members, all of the directors, a majority of the managers or the
general partner, as applicable, of the applicable Governing Bodies; and

        RESOLVED FURTHER, that this consent may be executed and delivered by means of
facsimile, telecopy or other electronic transmission (including email of a “pdf” signature), this
consent shall be treated in all manners and respects and for all purposes as an original consent and
shall be considered to have the same binding legal effect as if it were the original signed version
thereof delivered in person.




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                  [SIGNATURE PAGE FOLLOWS]




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                    IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
            written consent as of the date first written above.


                                                         BOARD OF MANAGERS:
                                                         SUNGARD AS NEW HOLDINGS, LLC


                                                                       ____________________________________
                                                                       Jarrett Appleby


                                                                       ____________________________________
                                                                       Patrick Bartels


                                                                       ____________________________________
                                                                       Robert Guth


                                                                       ____________________________________
                                                                       Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
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                     Case 22-90018 Document 1 Filed in TXSB on 04/11/22 Page 36 of 47




                    IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
            written consent as of the date first written above.


                                                             BOARD OF MANAGERS:
                                                             SUNGARD AS NEW HOLDINGS, LLC


                                                                       ____________________________________
                                                                       Jarrett Appleby


                                                                       ____________________________________
                                                                       Patrick Bartels


                                                                       ____________________________________
                                                                       Robert Guth


                                                                       ____________________________________
                                                                       Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
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                     Case 22-90018 Document 1 Filed in TXSB on 04/11/22 Page 37 of 47




                    IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
            written consent as of the date first written above.


                                                         BOARD OF MANAGERS:
                                                         SUNGARD AS NEW HOLDINGS, LLC


                                                                       ____________________________________
                                                                       Jarrett Appleby


                                                                       ____________________________________
                                                                       Patrick Bartels


                                                                       ____________________________________
                                                                       Robert Guth


                                                                       ____________________________________
                                                                       Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
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                     Case 22-90018 Document 1 Filed in TXSB on 04/11/22 Page 38 of 47




                    IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
            written consent as of the date first written above.


                                                             BOARD OF MANAGERS:
                                                             SUNGARD AS NEW HOLDINGS, LLC


                                                                       ____________________________________
                                                                       Jarrett Appleby


                                                                       ____________________________________
                                                                       Patrick Bartels


                                                                       ____________________________________
                                                                       Robert Guth


                                                                       ____________________________________
                                                                       Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
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                                                             SUNGARD AS NEW HOLDINGS, LLC, as sole
                                                             Member of Sungard AS New Holdings II, LLC
                                                             SUNGARD AS NEW HOLDINGS II, LLC, as sole
                                                             Member of Sungard AS New Holdings III, LLC


                                                             _____________________________
                                                             Name: Michael Robinson
                                                             Title: Chief Executive Officer




                                      [Signature Page to Written Consent of the Governing Bodies]
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                                                             SOLE DIRECTOR/MANAGER:

                                                             SUNGARD AVAILABILITY SERVICES
                                                             HOLDINGS, LLC
                                                             SUNGARD AVAILABILITY SERVICES
                                                             TECHNOLOGY, LLC
                                                             INFLOW LLC
                                                             SUNGARD AVAILABILITY NETWORK
                                                             SOLUTIONS INC.
                                                             SUNGARD AVAILABILITY SERVICES
                                                             HOLDINGS (CANADA), INC.
                                                             SUNGARD AVAILABILITY SERVICES, LTD.


                                                             _____________________________
                                                             Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
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                                                             BOARD OF DIRECTORS:
                                                             SUNGARD AVAILABILITY SERVICES
                                                             HOLDINGS (EUROPE), INC.


                                                             _____________________________
                                                             Michael Robinson

                                                             _____________________________
                                                             Michael Tobin




                                      [Signature Page to Written Consent of the Governing Bodies]
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                                                         BOARD OF DIRECTORS:
                                                         SUNGARD AVAILABILITY SERVICES
                                                         HOLDINGS (EUROPE), INC.


                                                         _____________________________
                                                         Michael Robinson

                                                         _____________________________
                                                         Michael Tobin




                                      [Signature Page to Written Consent of the Governing Bodies]
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                                                             GENERAL PARTNER:

                                                             SUNGARD AVAILABILITY TECHNOLOGY,
                                                             LLC,
                                                             as general partner of Sungard Availability Services,
                                                             LP

                                                             _____________________________
                                                             Name: Michael Robinson
                                                             Title: Chief Executive Officer




                                      [Signature Page to Written Consent of the Governing Bodies]
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                            Exhibit A

                 Restructuring Support Agreement

                            [Omitted]
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                           Exhibit B

                    Term Loan DIP Term Sheet

                            [Omitted]
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                           Exhibit C

                       ABL DIP Term Sheet

                            [Omitted]
